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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )              CASE NO. 8:05CR378
                                               )
              Plaintiff,                       )
                                               )
              vs.                              )              TENTATIVE FINDINGS
                                               )
MARCO A. COVARRUBIAS,                          )
                                               )
              Defendant.                       )


       The Court has received the Presentence Investigation Report (“PSR”) in this case

and the Defendant’s motion for downward departure and supporting brief (Filing Nos. 87,

88). The parties have not objected to the PSR. See Order on Sentencing Schedule, ¶ 6.

The Court advises the parties that these Tentative Findings are issued with the

understanding that, pursuant to United States v. Booker, 2005 WL 50108 (U.S. Jan. 12,

2005), the sentencing guidelines are advisory.

       The motion for downward departure addresses two issues: over representation of

the Defendant’s criminal history; and the Defendant’s post offense rehabilitation. The

motion will be heard at sentencing.

       IT IS ORDERED:

       1.     The parties are notified that my tentative findings are that the Presentence

Investigation Report is correct in all respects;

       2.     The Defendant’s motion for downward departure (Filing No. 87) will be heard

at sentencing;

       3.     If any party wishes to challenge these tentative findings, the party shall

immediately file in the court file and serve upon opposing counsel and the Court a motion

challenging these tentative findings, supported by (a) such evidentiary materials as are
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required (giving due regard to the requirements of the local rules of practice respecting the

submission of evidentiary materials), (b) a brief as to the law, and (c) if an evidentiary

hearing is requested, a statement describing why an evidentiary hearing is necessary and

an estimated length of time for the hearing;

       4.     Absent submission of the information required by paragraph 3 of this Order,

my tentative findings may become final; and

       5.     Unless otherwise ordered, any motion challenging these tentative findings

shall be resolved at sentencing.

       DATED this 11th day of October, 2006.

                                          BY THE COURT:

                                          s/Laurie Smith Camp
                                          United States District Judge




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